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Honorable William G Young
United States District Judge
United States Federal Courthouse
1 Courthouse Way

Boston, Massachusetts 02210

Dear District Judge Young,

My name is Emilio Pereda and my wife is Jodi Rios Pereda. We have been and we still are close friend
as well as neighbors of Matthew Lindner and his family for over 25 years. Although we know him well by
watching him grow up, we continue to be in close contact with him and his family. We were not around
nor present during the time Matthew made a mistake by responding to a misleading false video. Matthew
regrets his actions and in hindsight wishes he had checked out the video before responding.

We are aware that Matthew was raised by hard working Christian parents. Matthews’ parents instilled
outstanding character values and excellent work ethics. Matthew has not been in any criminal activity
since we have known him. Matthew talks about a new faith and trust in God. We have witnessed him
extending manners and full respect to the people around him. Matthew tells us of his efforts not only to
improve himself, but to help others as well.

My family and | are more than willing to continue to provide Matthew with every aspect of emotional
support and love as possible. | believe beyond a doubt that given the opportunity Matthew will come

home and make us all proud. Thank you for your time and attention. Please contact us at any time at the
number below for any further information.

Sincerely,

Es 2 \ te
Emilio Pereda
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Comfort, TX 78013
Email: eptexas1261 @ gmail.com

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